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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

JOE HOLCOMBE et al.,                             §
                                                 §   Civil Action No. SA-18-CV-555-XR
        Plaintiffs,                              §
                                                 §       Consolidated with: SA-18-cv-712-XR,
v.                                               §       SA-18-cv-881-XR, SA-18-cv-944-XR,
                                                 §       SA-18-cv-949-XR, SA-18-cv-951-XR,
UNITED STATES OF AMERICA,                        §       SA-18-cv-1151-XR, SA-19-cv-184-XR,
                                                 §       SA-19-cv-289-XR, SA-19-cv-506-XR,
        Defendant.                               §       SA-19-cv-678-XR, SA-19-cv-691-XR,
                                                 §       SA-19-cv-705-XR, SA-19-cv-706-XR,
                                                 §       SA-19-cv-714-XR, SA-19-cv-715-XR,
                                                 §       SA-19-cv-805-XR, SA-19-cv-806-XR,
                                                 §       SA-19-cv-953-XR, SA-19-cv-972-XR,
                                                 §       SA-19-cv-1291-XR, SA-19-cv-1300-XR,
                                                 §       SA-19-cv-1301-XR, SA-19-cv-1318-XR,
                                                 §       SA-19-cv-1481-XR, SA-20-cv-109-XR,
                                                 §       SA-20-cv-368-XR, SA-20-cv-991-XR


                                            ORDER

       On this date, the Court considered the status of these consolidated cases. On July 21,

2021, in accordance with the Court’s order of July 6, 2021 (ECF No. 452), the parties submitted

an advisory with their proposed plans for continuing with the damages phase of the trial. ECF

No. 454. At a status conference held on July 30, 2021, the parties represented that they intend to

submit a second proposed plan within ten days.

       Because this action cannot proceed to the next stage of trial until the parties have reached

an agreement that will allow the Court to set this case for trial and issue a pretrial order, the

Court finds this case is appropriate for administrative closure. See Mire v. Full Spectrum

Lending, Inc., 389 F.3d 163, 167 (5th Cir. 2014) (“District courts frequently make use of this

device to remove from their pending cases suits which are temporarily active elsewhere (such as
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before an arbitration panel) or stayed (such as where a bankruptcy is pending). The effect of an

administrative closure is no different from a simple stay . . . .”).

        The Clerk’s office is therefore DIRECTED to administratively close these consolidated

cases pending further order of the Court. Though administratively closed, these cases will still

exist on the docket of this Court and may be reopened upon request or on the Court’s own

motion. Parties may continue to file motions and documents under the lead case, Holcombe v.

United States, SA-18-CV-555-XR.

        It is so ORDERED.

        SIGNED this 30th day of July, 2021.




                                                        XAVIER RODRIGUEZ
                                                        UNITED STATES DISTRICT JUDGE




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